Case 1:19-cr-20063-RKA Document 24 Entered on FLSD Docket 03/11/2019 Page 1 of 6




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO. 19-CR-20063

   UNITED STATES OF AMERICA,

             Plaintiff,

   v.

   JAMAL LAMAR HEAD, and
   KEON TRAVY GLANTON

             Defendants.


                                        DETENTION ORDER
           Pursuant to 18 U.S.C. § 3142(f), on March 7, 2019, a hearing was held to determine

  whether Defendants Jamal Lamar Head and Keon Travy Glanton, should be detained prior to trial.

  Having considered the factors enumerated in 18 U.S.C. § 3142(g), this Court finds that no

  condition or combination of conditions will reasonably assure the appearance of these Defendants

  as required, nor reasonably assure the safety of any other person and the community. Therefore, it

  is hereby ordered that Defendants Jamal Lamar Head and Keon Travy Glanton be detained prior

  to trial and until the conclusion thereof.

           In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby makes the

  following findings of fact and statement of reasons for detention:

        1. Defendants are charged by indictment with multiple acts of robbery and an act of carjacking

           resulting in death. Jamal Lamar Head is charged in twelve counts for his alleged

           participation in three separate events with conspiracy to commit and committing three

           separate Hobbs Act Robberies, in violation of 18 U.S.C. § 1951(a) (Counts 1, 2, 4, 6);

           brandishing and discharging a firearm, and causing the death of a person, in furtherance of

           a crime of violence in violation of 18 U.S.C. § 924(c)(1)(A) (Counts 3, 5, 9, 10); kidnapping

                                                     1
Case 1:19-cr-20063-RKA Document 24 Entered on FLSD Docket 03/11/2019 Page 2 of 6




        resulting in death in violation of 18 U.S.C. § 1201(a)(1) (Count 7); carjacking resulting in

        death in violation of 18 U.S.C. § 2119(3) (Count 8); possession of a firearm and

        ammunition by a convicted felon in violation of 18 U.S.C. § 922(g) (Count 11), and arson

        in violation of 18 U.S.C. § 844(i) (Count 12).

     2. Defendant Keon Travy Glanton, is identically charged, except he is not charged with the

        acts arising from the first alleged Hobbs Act robbery (Counts 2-3). The maximum penalty

        that may be imposed with respect to Count 10, in which both Defendants are charged, is

        death.

     3. The weight of the evidence against Defendants is substantial. The Government proffered

        that on July 9, 2018, P.T.B., a plumber, was contacted by a woman seemingly interested in

        the victim’s plumbing services. The woman provided P.T.B. with an address to a property

        where the purported plumbing issue took place. P.T.B. arrived at the property and was met

        by Defendant Head who threatened to shoot P.T.B. if he did not turn over his property to

        Defendant Head. Head stole a $3,000 plumbing tool and the victim’s wallet. The victim

        later definitively identified Head from a line-up. Cell-site information puts Head’s cellular

        phone in the vicinity of the crime at the time of the alleged robbery.

     4. On July 11, 2018, a second robbery occurred in Rivero Beach, Florida. D.S., a plumber,

        was dispatched to a property to repair a plumbing issue. When D.S. arrived at the property

        he was met with another car containing two men and a woman. One of the assailants struck

        D.S. in the head and punched him until the victim fell to the ground. The assailant grabbed

        D.S.’s car keys and handed them to the second man and the woman, directing them to take

        specific plumbing equipment from D.S.’s vehicle. The assailants stole $3,000 in plumbing

        equipment and the victim’s wallet. D.S. called 911 and was later found at the scene,



                                                  2
Case 1:19-cr-20063-RKA Document 24 Entered on FLSD Docket 03/11/2019 Page 3 of 6




        bleeding profusely from his head. D.S. later identified Head as the man who struck him

        and directed the other two assailants. Two or three hours after the robbery, gas station

        surveillance shows Defendant Glanton using D.S.’s credit card to purchase gas. Cell-site

        information similarly places Head and Glanton in the vicinity of the second robbery.

        Head’s fingerprint was later lifted from D.S.’s phone.

     5. Cellular phone records indicate that on July 12, 2018, Glanton contacted a third plumbing

        service, spoke to the business owner, and scheduled a service call at a third property. The

        owner referred Glanton to L.S.H., the owner’s roommate and business associate. Phone

        records evidence that Glanton called L.S.H. several times and that L.S.H. returned

        Glanton’s phone calls. When L.S.H. arrived at the property, he was confronted with

        Glanton and Head, who forced the victim into the rear of a Volkswagen that Head had

        rented the day before. Head drove the rental vehicle away from the scene, and Glanton

        followed in the victim’s white van. The victim and Head struggled in the car before Head

        shot the victim in the head and the chest, causing the victim’s death. Head then crashed the

        rental car and was apparently injured in the crash. Phone records reveal a fourteen-minute

        phone call between Glanton and Head immediately after the car crash. Video surveillance

        of the neighborhood shows Head’s rental vehicle in the neighborhood before the robbery,

        and similarly captured images of Head running south from where the car crashed and

        getting into a car matching a description of the victim’s van. Glanton drove the van south,

        where he eventually burned the van.

     6. A search of the rental vehicle revealed items that Head and Glanton purchased at a gas

        station, a rental receipt in Head’s name, victim D.S.’s license, and Glanton’s debit card.

        Moreover, Head’s blood was recovered from the airbag of the rental car. A search of a



                                                 3
Case 1:19-cr-20063-RKA Document 24 Entered on FLSD Docket 03/11/2019 Page 4 of 6




        nearby storm drain resulted in the recovery of a pistol, which was confirmed to be the

        murder weapon. In the same vicinity, law enforcement recovered a toiletries bag containing

        a toothbrush, from which law enforcement extracted DNA matching Head’s. After Glanton

        was arrested and read his Miranda rights, Glanton admitted he was with Head on the days

        of the robberies, and identified himself from the surveillance images, but denied

        participation in the robberies.

     7. The pertinent history and characteristics of Defendants support pretrial detention. Head is

        a lifelong resident of South Florida and resided with his mother in Miami. Head’s father is

        deceased, and his brother is in prison. Head has been detained at the Miami-Dade Pretrial

        Detention Center since July 2018.

     8. Head has an extensive criminal record involving violent and controlled substance crimes.

        Head has been convicted of attempted second-degree murder, illegally carrying a

        concealed firearm, cocaine possession, cannabis possession, resisting an officer without

        violence, and armed robbery with a deadly weapon. Further, Head has violated the terms

        of his probation, resulting in a revocation or modification of his probation terms at least

        two times.

     9. The undersigned finds that Head would be unlikely to appear if released on bond prior to

        trial: Head has an extensive criminal record, evidencing an ongoing disregard for the law;

        he has violated his probation two times, suggesting that he is not amenable to court

        supervision; apart from his mother, he lacks family support; and, if convicted, he faces a

        death penalty sentence. The Court specifically finds, by a preponderance of the evidence,

        that there are no conditions or combination of conditions, which reasonable assure Head’s

        appearance as required.



                                                 4
Case 1:19-cr-20063-RKA Document 24 Entered on FLSD Docket 03/11/2019 Page 5 of 6




     10. Head also constitutes a danger to persons in the community. At thirty-two years of age,

        Head has been convicted of several violent criminal offenses, including attempted second-

        degree murder. Taking into account the characteristics of Defendant Head and the nature

        of the present offense, the Court finds by clear and convincing evidence that there are no

        conditions which will reasonably assure the safety of other persons and the community.

     11. Similarly, Defendant Glanton’s pertinent history and characteristics support pretrial

        detention. Glanton is a lifelong resident of South Florida. Glanton has been in state custody

        since July 2018, serving a jail sentence on a Miami-Dade state case. He resided with his

        father before being taken into state custody. Glanton has three siblings and five children

        who reside in South Florida.

     12. Glanton has been convicted of resisting an officer without violence. Glanton has also been

        charged with controlled substance offenses, including possession of cannabis, possession

        of cocaine, and possession of drug paraphernalia.

     13. Therefore, the undersigned finds that Glanton would be unlikely to appear if released on

        bond prior to trial: he has a significant criminal record, signaling a disregard for the law;

        he is unemployed and besides his father, appears to lack community and familial support;

        and, if convicted, Glanton faces the death penalty. The Court specifically finds, by a

        preponderance of the evidence, that there are no conditions or combination of conditions,

        which reasonable assure Glanton’s appearance as required.

     14. Glanton also constitutes a danger to persons in the community. At thirty-two years of age,

        Glanton has been charged with several violent criminal offences, including attempted

        second-degree murder, and presently stands charged of Hobbs Act Robbery resulting in the

        death of victim L.S.H. The Court finds by clear and convincing evidence that there are no



                                                  5
Case 1:19-cr-20063-RKA Document 24 Entered on FLSD Docket 03/11/2019 Page 6 of 6




         conditions which will reasonably assure the safety of other persons and the community.

  Accordingly, the Court hereby directs:

         (a) That Defendants Jamal Lamar Head and Keon Trevy Glanton be committed to the

             custody of the Attorney General for confinement in a corrections facility separate, to

             the extent practical, from persons awaiting or serving sentences or being held in

             custody pending appeal;

         (b) That Defendants Jamal Lamar Head and Keon Trevy Glanton be afforded reasonable

             opportunity for private consultation with counsel; and

         (c) That, on order of a court of the United States or upon request of an attorney for the

             Government, the person in charge of the corrections facility in which the Defendants

             are confined deliver the Defendants to a United States Marshal for the purpose of an

             appearance in connection with a court proceeding.

         DONE AND ORDERED in Chambers at Miami, Florida on this 11th day of March 2019.




                                                      LAUREN LOUIS
                                                      UNITED STATES MAGISTRATE JUDGE




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